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                                                  ICE                                                    Ken Irwin,       Sheriff
             YAK IMA COUNTY SHE RIF F'Sne OFF
                                          (509) 574-2500
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                             YAKIMA COU NTY SHE RIF F'S DEP ART MEN T
                                                     PHOT OGRA PHIC LINE-UP

                                                            INSTR UCTI ONS

                                                                                             CASE #- - - - - - - -

                                                                                                                       carefully:
                                                               yo u view these photog raphs, please read the following
    You are about to be shown a group of photog raphs . Before
                                                                           raphs, this should not influence your judgment in any
                1. Becau se an officer is showi ng you a group of photog
                      way.
                                                                        be in this group of photographs .
                 2.   The person who committed the crime may or may not

'                                                                               it is to identity those persons respon sib le.
                 3.   It is just as important to eliminate innoce nt persons as

                 4.   You are in no way obligated to identify anyone.
                                                                                 ents. Consid er that the photographs could be old
                 5.   Study each photograph carefu lly before makin g any comm
                                                                             s can alter their appearance by growin g or shaving
                      or new , that the hair styles chang e and those person
                      fac ial hair.
                                                                              _ _ _ _ ___ ___ ___ _ _ _ _ __
                 6.   Specialinstrnctions: _ __ _ _ _ _ _ _ _ _ _




                                                                                                                      -              6ate
                                                              Office r showi ng the photo line-up




                                                                                                                                    DEFENDANT'S EXHIBIT


                                                                                                                                        1001
